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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

CASE NO. 6°. 21~ W~ Gq¥ — CEM-OCT
SECURITIES AND EXCHANGE COMMISSION,

Plaintiff,
v.

HARBOR CITY CAPITAL CORP, et al., UNDER SEAL

Defendants,

and

CELTIC ENTERPRISES, LLC,
TONYA L. MARONEY,

Relief Defendants.
/

EXHIBITS IN SUPPORT OF PLAINTIFF SECURITIES AND EXCHANGE
COMMISSION’S EMERGENCY EX PARTE MOTION AND MEMORANDUM
OF LAW FOR TEMPORARY RESTRAINING ORDER, ASSET FREEZE, AND

OTHER INJUNCTIVE RELIEF

EXHIBIT NO. DESCRIPTION

EX. 1 Declaration of Kathleen Strandell

EX, 2 Harbor City Corporate Filings

EX. 3 Harbor City Digital Corporate Filings
EX. 4 Harbor City Ventures Corporate Filings
EX. 5 HCC Media Corporate Filings

EX. 6 Harbor City SPE’s Corporate Filings

EX. 7 Alabama Cease and Desist Order
Case 6:21-cv-00694-CEM-DCI

EX. 8

EX. 9

EX.

EX.

EX.

EX.

EX.

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EX. 20

EX. 21

EX. 22

EX. 23

EX. 24

EX. 25

EX. 26

EX. 27

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Harbor City Form D Notice of Exempt Offering
Tonya Maroney Linkedin Profile

Declaration of James Halpin

Declaration of Michael Handelsman
Declaration of Steven Estle

HCCF-4 PPM

High Yield Bond Subscription Agreements for HCCF-1,
HCCF-2, HCCF-3, HCCF-4, and HCCF-5

Annex A — PPM Business Description of HCCF-5, LLC
HCCF-4 LLC Business Plan Deck

Harbor City Investment Updated Offerings

Harbor City Website Capture (10/4/19)

YouTube Video Transcription HCCF-1 Bond Webcast

YouTube Video Transcription Harbor City Corp - Safe
Investments

YouTube Video Transcription Harbor City Capital — Video
1 and 2 (9.26.19)

YouTube Video Transcription Harbor City Capital SBLC
Video (1.28.20)

David M. Anthony Testimony Transcript
HCCF-3 LLC Business Plan Deck
HCCF-2 LLC Business Plan Deck
Declaration of Celeste Byrd

Declaration of Paul Nater
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EX. 28 Investigative Subpoenas to Harbor City and Maroney
EX. 29 Proof of Service on Harbor City’s Registered Agent
EX. 30 Amended Complaint in Investor Scherzinger Lawsuit
